    Case 2:12-cv-00859-LMA-MBN Document 1384 Filed 12/07/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
___________________________________
                                       )
LASHAWN JONES, ET AL,                  )
Plaintiffs; and                        )
UNITED STATES OF AMERICA,              )
Plaintiffs in Intervention             )
                                       )
v.                                     )
                                       )
                                       )
MARLIN N. GUSMAN, ET AL,               )
Defendants                             )          Civil Action No. 2:12-cv-00859
___________________________________ )             Section “I”(5)
                                       )          Judge Lance M. Africk
MARLIN N. GUSMAN,                      )          Magistrate Judge Michael B. North
Third-Party Plaintiff                  )
                                       )
v.                                     )
                                       )
THE CITY OF NEW ORLEANS,               )
Third-Party Defendant                  )
___________________________________ )


                          SUPPLEMENTAL NOTICE TO THE COURT

MAY IT PLEASE THE COURT:

       The undersigned respectfully notifies the Court that for the first time since the onset of

COVID-19, the number of inmates in OPSO custody has exceeded 1000 over this past weekend,

with today’s population being 1003 as of 7:00 a.m.

                                            Respectfully submitted,
                                            ORLEANS PARISH SHERIFF’S OFFICE
                                            s/Blake J. Arcuri
                                            BLAKE J. ARCURI, BAR NO. 32322
                                            LAURA C. RODRIGUE, BAR NO. 30428
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                                                  CHEHARDY, SHERMAN, WILLIAMS,
                                                  MURRAY, RECILE, STAKELUM
                                                  & HAYES, LLP

                                                  JAMES M. WILLIAMS, BAR NO. 26141
                                                  INEMSIT U. O’BOYLE, BAR NO. 30007
                                                  PATRICK R. FOLLETTE, BAR NO. 34547
                                                  One Galleria Boulevard, Suite 1100
                                                  Metairie, Louisiana 70001
                                                  Telephone: (504) 833-5600
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                                      CERTIFICATE

       I hereby certify that I have caused a copy of this pleading to be served upon all other

parties hereto through the EM/CMF filing system, this the 7thth day of December, 2020.

                                                          /s/Blake J. Arcuri
